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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION

 In re:                                             )      Case No. 24-80028
                                                    )
 LAM T. NGUYEN and                                  )      Chapter 7
 THU A. NGUYEN,                                     )
                                                    )
                 Debtors.                           )      Judge Thomas M. Lynch

          UNITED STATES TRUSTEE’S MOTION TO APPROVE DEBTORS’
          WAIVER OF DISCHARGE AND MOTION TO SHORTEN NOTICE

       PLEASE TAKE NOTICE that on June 12, 2024, at 11:00 a.m., I will appear before the
Honorable Thomas M. Lynch, or any judge sitting in that judge’s place, either in courtroom 3100 of
the U.S. Bankruptcy Court for the Northern District of Illinois, Stanley J. Roszkowski U.S.
Courthouse, 327 South Church Street, Rockford, Illinois 61101, or electronically as described below,
and present the United States Trustee’s Motion to Approve Debtors’ Waiver of Discharge and Motion
to Shorten Notice, a copy of which is attached.
       Important: Only parties and their counsel may appear for presentment of the motion
electronically using Zoom for Government. All others must appear in person.

       To appear by Zoom using the internet, use this link: https://www.zoomgov.com/.
Then enter the meeting ID and passcode.
               To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-
5252 or 1-646-828-7666. Then enter the meeting ID and passcode.
       Meeting ID and password. The meeting ID for this hearing is 160 291 5226 and the
passcode is 852255. The meeting ID and passcode can also be found on Judge Lynch’s webpage on
the court’s website, https://www.ilnb.uscourts.gov/content/judge-thomas-m-lynch.
        If you object to this motion and want it called on the presentment date above, you must file
a Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is
timely filed, the motion will be called on the presentment date. If no Notice of Objection is timely
filed, the court may grant the motion in advance without calling it.

 Dated:   June 6, 2024                           Respectfully submitted,

 Office of the U.S. Trustee                      PATRICK S. LAYNG, United States Trustee
 780 Regent Street, Suite 304
 Madison, Wisconsin 53715                  By:   /s/ Jennifer K. Niemeier
 (608) 264-5522, extension 5643                  Jennifer K. Niemeier
 Jennifer.Niemeier@usdoj.gov                     Attorney for the United States Trustee
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 In re:                                               )      Case No. 24-80028
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 THU A. NGUYEN,                                       )
                                                      )
                   Debtors.                           )      Judge Thomas M. Lynch


               UNITED STATES TRUSTEE’S MOTION TO APPROVE DEBTORS’
               WAIVER OF DISCHARGE AND MOTION TO SHORTEN NOTICE

          The United States Trustee for the Northern District of Illinois, Western Division, Patrick S.

Layng, hereby requests that the Court approve Lam T. Nguyen and Thu A. Nguyen’s (“Debtors”)

Voluntary Waiver of Discharge and allow shortened notice, and in support hereof asserts as follows:

          1.      Debtors, Lam T. Nguyen and Thu A. Nguyen, filed a voluntary petition under chapter

7 of Title 11 of the United States Code on January 8, 2024.

          2.      Based on information obtained after the filing, the United States Trustee believes there

are grounds for denial of the Debtors’ discharge pursuant to 11 U.S.C. § 727.

          3.      The Debtors have agreed to voluntarily waive their discharge pursuant to 11 U.S.C. §

727(a)(10).

          4.      As set forth in the attached waiver, Debtors Lam T. Nguyen and Thu A. Nguyen make

this waiver of discharge voluntarily, after having discussed the waiver with their counsel, Attorney

David Stretch, and after having been fully informed of the consequences.

          5.      The deadline for the United States Trustee to file a complaint under § 727 is June 14,

2024.     Given the pending § 727 deadline, the United States Trustee requests that this matter be heard

on shortened notice on June 12, 2024, before the § 727 deadline lapses.

          WHEREFORE, the United States Trustee requests that the Court allow shortened notice,

accept Lam T. Nguyen and Thu A. Nguyen’s Voluntary Waiver of Discharge, and enter an order and

judgment denying Lam T. Nguyen and Thu A. Nguyen’s discharge.
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 Dated:    June 6, 2024                               Respectfully submitted,

 Office of the U.S. Trustee                           PATRICK S. LAYNG, United States Trustee
 780 Regent Street, Suite 304
 Madison, Wisconsin 53715                       By:   /s/ Jennifer K. Niemeier
 (608) 264-5522, extension 5643                       Jennifer K. Niemeier
 Jennifer.Niemeier@usdoj.gov                          Attorney for the United States Trustee




                                   CERTIFICATE OF MAILING


       I, James C. Dreier, Jr., a non-attorney, declare under penalty of perjury under the laws of the
United States of America that I served a copy of this notice and the attached motion on each entity
shown on the attached list at the address shown and by the method shown on June 6, 2024:

By first class mail to the following parties:

 Lam T. Nguyen                                          Thu A. Nguyen
 115 Boulder Drive                                      115 Boulder Drive
 Lake in the Hills, IL 60158                            Lake in the Hills, IL 60158

 Ally Bank, c/o AIS Portfolio Services, LLC
 4515 N Santa Fe Ave. Dept. APS
 Oklahoma City, OK 73118


By CM/ECF on the following parties:

    •   Robert Charles Bansfield       rbansfield@thechicagobusinesslawyers.com,
        kkline@thechicagobusinesslawyers.com
    •   Brian Hart    brian@rockfordbankruptcy.com,
        colleenlemek@comcast.net,I009@ecfcbis.com
    •   Kerrie S Neal     kerrie.neal@il.cslegal.com, bkpleadingsNORTHERN@il.cslegal.com
    •   Carolina Y. Sales     csales@robbinsdimonte.com,
        mrussell@robbinsdimonte.com;jtronina@robbinsdimonte.com
    •   David L. Stretch     stretchlaw@gmail.com



                                                                /s/ James C. Dreier, Jr.
                                                           James C. Dreier, Jr.
                                                           Paralegal Specialist
